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                               United States District Court
                              for the District of New Jersey


____________________________________________
                                                       :
UNITED STATES OF AMERICA                               :

                                                       :      Crim. No. 11-768
                Plaintiff                              :
                vs.                                    :      Order of Reassignment
JOVANY CLERMONT, ET AL.                                :
                                                       :
               Defendant                               :
____________________________________________           :




          It is on this 9th day of December 2011,

          O R D E R E D that the entitled action is reassigned

          from Judge Jose L. Linares to Judge Esther Salas.




                                              S/Garrett E. Brown, Jr.
                                          Garrett E. Brown, Jr., Chief Judge
                                          United States District Court
